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               IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            EASTERN DIVISION

TAWANDA AEIAH SEARS,                        )
                                            )
      Petitioner,                           )
                                            )         CIVIL ACTION NO.
v.                                          )         3:19-CV-178-LSC-CSC
                                            )               (WO)
UNITED STATES OF AMERICA,                   )
                                            )
      Respondent.                           )

                                       ORDER

      On October 21, 2021, the Magistrate Judge entered a Recommendation that

Petitioner Tawanda Aeiah Sears’s 28 U.S.C. § 2255 motion be denied and that this case be

dismissed with prejudice. (Doc. 22.) Sears has filed no objections. Upon an independent

review of the record and upon consideration of the Magistrate Judge’s Recommendation,

it is ORDERED as follows:

      1. The Magistrate Judge’s Recommendation (Doc. 22) is ADOPTED.

      2.   Sears’s 28 U.S.C. § 2255 motion (Doc. 1) is DENIED, and this case is

DISMISSED WITH PREJUDICE.

      A separate final judgment will be entered.

      DONE and ORDERED on December 2, 2021.



                                                _____________________________
                                                        L. Scott Coogler
                                                   United States District Judge
                                                                                   160704
